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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District
                                                __________         of of
                                                            District  New   York
                                                                         __________

                                                                 )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )                                         DG-TAM
                                v.                                      Civil Action No.
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                          Brenna Mahoney
                                                                           CLERK OF COURT


Date:         11/27/2023                                                    s/Kimberly Davis
                                                                                      Signature of Clerk or Deputy Clerk
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                        RIDER TO SUMMONS IN A CIVIL ACTION
The following are the names and addresses of the defendants for the Summons in a Civil Action


              11 HOYT PROPERTY OWNER, L.P.
              NATIONAL REGISTERED AGENTS, INC.
              28 LIBERTY STREET
              NEW YORK, NY, UNITED STATES, 10005


              TAIM 11 HOYT, LLC
              C/O GOLENBOCK EISEMAN ASSOR BELL & PESKOE LLP
              ATTN: LAWRENCE R. HAUT, ESQ.
              711 THIRD AVENUE, FLOOR 17
              NEW YORK, NY, UNITED STATES, 10017
